Appeal by defendant from a judgment and from an order denying a motion for new trial.
The plaintiff sued to recover damages for the death of Leontine Scherrer, his wife, which he alleged was caused through the negligent acts of defendant. The wife was riding in an automobile which was struck by moving cars on a track of the defendant railway company, by reason of which collision she suffered injuries which caused her death. [1] The questions argued in the briefs in this case are the same as those presented in McClure v. Southern Pacific Co., ante, p. 652, [183 P. 248], which was an action for damages growing out of the same accident. It will be unnecessary to here repeat the discussion of those questions, and upon the authority of the conclusions expressed in the McClure case, the judgment and order herein appealed from are affirmed.
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